|N THE UN|TED STATES D|STRICT COURT
FOR THE VVESTERN D|STR|CT OF TENNESSEE
WESTERN DIV|S|ON

 

 

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UN|TED STATES OF AMER|CA \A
P|aintiff

VS.
CR. NO. 05»20071-0

TONY W|LL|A|V|S

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on i\/iay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Ju|v 21, 2005, at 9:00 a.m., in Courtroom 3. 9th Fioor of the
Federa| Buiiding, N|emphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

n is so oRoERED thisi/ day or May, 2005.

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RNlCE B. DONALD
UN|TED STATES D|STR|CT JUDGE

'\'his document entered on the docket s eetln con:piiance
with R.ile 55 and/or 321bi FRCrP on ,_ _LQ__LL_O_‘§

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This notice confirms a copy of the document docketed as number 34 in
case 2:05-CR-20071 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

